56 F.3d 77NOTICE:  Although citation of unpublished opinions remains unfavored, unpublished opinions may now be cited if the opinion has persuasive value on a material issue, and a copy is attached to the citing document or, if cited in oral argument, copies are furnished to the Court and all parties.  See General Order of November 29, 1993, suspending 10th Cir. Rule 36.3 until December 31, 1995, or further order.
    Lorenzo B. HARRIS, Petitioner-Appellant,v.Ron CHAMPION;  Attorney General of the State of Oklahoma,Respondents-Appellees.
    No. 94-6210.(D.C. No. CIV-93-197-T)
    United States Court of Appeals, Tenth Circuit.
    June 6, 1995.
    
      Before MOORE, BARRETT, and EBEL, Circuit Judges.
    
    ORDER AND JUDGMENT1
    
      1
      After examining the briefs and appellate record, this panel has determined unanimously that oral argument would not materially assist the determination of this appeal.  See Fed.  R.App. P. 34(a);  10th Cir.  R. 34.1.9.  The cause is therefore ordered submitted without oral argument.
    
    
      2
      This is an appeal by a state prisoner from the denial of a petition for a writ of habeas corpus.  Our examination of the record leads us to conclude neither the magistrate judge nor the district court erred in the disposition of the petition.
    
    
      3
      We therefore AFFIRM for the reasons cited by the magistrate and the district judge.  The application for a certificate of probable cause is GRANTED.
    
    
      
        1
         This order and judgment is not binding precedent, except under the doctrines of law of the case, res judicata, and collateral estoppel.  The court generally disfavors the citation of orders and judgments;  nevertheless, an order and judgment may be cited under the terms and conditions of the court's General Order filed November 29, 1993.  151 F.R.D. 470
      
    
    